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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                              )              Chapter 11
                                    )
NORTEL NETWORKS INC., et al.        )              Case No. 09-10138 (KG)
                                    )
      Debtors.                      )              Jointly Administered
                                    )
___________________________________ )
                                    )
GENBAND US LLC,                     )
                                    )
      Appellant,                    )
v.                                  )              Civil Action No. 11-197 (LPS)
                                    )
NORTEL NETWORKS INC., et al.,       )
                                    )
      Appellees.                    )
                                    )
___________________________________ )


                               STIPULATION OF DISMISSAL


         IT IS HEREBY stipulated and agreed between the above-referenced appellant,

GENBAND US LLC, and the above-referenced appellees, Nortel Networks Inc. et. al., each

debtors and debtors-in-possession in the above-captioned chapter 11 proceeding pending before

the United States Bankruptcy Court for the District of Delaware, all acting by and through their

respective counsel, that the above-captioned appeal, Case No. 11-197 (LPS), is dismissed with

prejudice pursuant to Rule 8001(c)(2) of the Federal Rules of Bankruptcy Procedure. Each party

shall bear their own costs and attorneys fees.
          Case 09-10138-MFW
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      AGREED TO this 27th day of September, 2011.


DUANE MORRIS LLP                              MORRIS NICHOLS ARSHT &
                                              TUNNELL LLP


/s/ Sommer L. Ross                                   /s/ Chad A. Fights
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                                              et al.




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